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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                  Bridgeport Division

____________________________________
IN RE:                               )
                                     )                       CHAPTER 7, NO. 24-50459-JAM
EBONIQUE ALLEN                       )
                                     )
      Debtor                         )
____________________________________)                        JANUARY 16, 2024

                                    MOTION TO DISMISS

   Debtor Ebonique Nicole Allen hereby moves this Honorable Court to dismiss the above-

captioned Chapter 7 bankruptcy case pursuant to 11 U.S.C. §707(a). In support of this motion,

the Debtor states as follows:

   1. The Debtor commenced this case by filing a voluntary petition under Chapter 7 of the

       United States Bankruptcy Code on June 28, 2024.

   2. The Debtor recently discovered she must amend certain tax returns. In doing so, it is

       likely the Debtor will have to resolve certain outstanding tax obligations.

   3. In order to address this situation, the Debtor believes it is prudent and appropriate to

       dismiss this Chapter 7 case rather than seek a discharge.

   4. Dismissal will allow the Debtor the opportunity she needs to update and correct certain

       financial information by amending her taxes and resolving any outstanding obligations.

   5. This case has not been converted under any section of the Bankruptcy Code and there is

       no motion for relief from stay pending.

   6. The Debtor confirms that all assets were appropriately listed in the schedules filed with

       the Court.



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   7. The Debtor further confirms that she has not become entitled to an inheritance, life

       insurance proceeds, or any other rights under Section 541(a)(5) of the United States

       Bankruptcy Code after the filing of her case.



   WHEREFORE, the Debtor respectfully requests that this Honorable Court enter an order

dismissing this case without prejudice and granting such other and further relief as the Court

deems just and proper.



Dated: January 16, 2025

                                                             EBONIQUE NICOLE ALLEN

                                                             By: /s/ Jesse C. Clark
                                                             Jesse C. Clark, Esq.
                                                             Recovery Law Group, APC
                                                             83 Wooster Heights Rd
                                                             Ste. 125
                                                             Danbury, CT 06810
                                                             jclark@recoverylawgroup.com
                                                             Federal Bar No. CT27448




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                        UNITED STATES BANKRUPTCY COURT
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IN RE:                               )
                                     )                      CHAPTER 7, NO. 24-50459-JAM
EBONIQUE ALLEN                       )
                                     )
      Debtor                         )
____________________________________)                       JANUARY 16, 2024


                PROPOSED ORDER GRANTING MOTION TO DISMISS

       On January 16, 2025, counsel for the debtor Ebonique Nicole Allen, filed a Motion for
Voluntary Dismissal (the “Motion”). The foregoing, having been presented to the Court, for the
reasons set forth in the Motion, it is hereby:

       ORDERED: the Debtor’s Motion for Voluntary Dismissal is GRANTED / DENIED.




                                                            By the Court: _______________ J.




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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                  Bridgeport Division

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IN RE:                               )
                                     )                       CHAPTER 7, NO. 24-50459-JAM
EBONIQUE ALLEN                       )
                                     )
      Debtor                         )
____________________________________)                        JANUARY 16, 2024

                              CERTIFICATE OF SERVICE

        I Jesse Clark, do hereby certify that on this 16th day of January 2025, I served a copy of
the Motion to Dismiss and proposed Order, by first class mail, postage prepaid, to all creditors
and parties in interest including any of the below listed parties that did not otherwise receive
notice thereof through the Court’s ECF system, unless otherwise noted:

               Ebonique Nicole Allen
               56 Sunshine Circle
               Bridgeport, CT 06606

               Holley Claiborn, Esq.
               Office of the U.S. Trustee
               150 Court Street
               Room 302
               New Haven, CT 06510

          1.   Parties Served Electronically:
               George Roumeliotis: trustee@roumeliotislaw.com; george@roumeliotislaw.com

                                                             /s/ Jesse C. Clark
                                                             Jesse C. Clark, Esq.
                                                             Recovery Law Group, APC
                                                             83 Wooster Heights Rd
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                                                             Danbury, CT 06810
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